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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12    FEDERAL TRADE COMMISSION, et al.,                     Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiffs,                            ORDER DENYING FTC'S MOTION IN
                                                                                              LIMINE # 2
                                  14            v.
                                                                                              Re: Dkt. No. 941
                                  15    QUALCOMM INCORPORATED, et al.,
                                  16                   Defendants.

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                                  18           On November 30, 2018, Plaintiff Federal Trade Commission (“FTC”) filed a motion in

                                  19   limine to exclude evidence relating to topics on which Defendant Qualcomm Inc. (“Qualcomm”)

                                  20   claimed privilege. ECF No. 941 (“Mot.”). Qualcomm Inc. (“Qualcomm”) opposes the motion.

                                  21   ECF No. 957 (“Opp.”). Having considered all of the arguments raised in the parties’ submissions,

                                  22   the relevant law, and the record in this case, and balancing the factors set forth in Fed. R. Evid.

                                  23   403, the Court DENIES the FTC’s motion in limine.

                                  24   I.      LEGAL STANDARD
                                  25           The Court has broad discretion to manage the conduct of a trial and the evidence presented

                                  26   by the parties. Navellier v. Sletten, 262 F.3d 923, 941-42 (9th Cir. 2001). In addition, the Federal

                                  27   Rules of Evidence “confer broad discretion on the trial judge to exclude evidence on any of the

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                                   1   grounds specified in Rule 403.” United States v. Hearst, 563 F.2d 1331, 1349 (9th Cir. 1977); see

                                   2   also United States v. Olano, 62 F.3d 1180, 1204 (9th Cir. 1995) (“trial courts have very broad

                                   3   discretion in applying Rule 403” (quoting Borunda v. Richmond, 885 F.2d 1384, 1388 (9th Cir.

                                   4   1988) (alteration omitted)). Fed. R. Evid. 403 provides that “[t]he court may exclude relevant

                                   5   evidence if its probative value is substantially outweighed by a danger of one or more of the

                                   6   following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

                                   7   or needlessly presenting cumulative evidence.” The ruling below balances the factors set forth in

                                   8   Rule 403.

                                   9   II.      DISCUSSION
                                  10            The FTC seeks to exclude any evidence relating to Qualcomm’s “internal valuation of its

                                  11   patents and the technical areas to which its highly-rated patents relate.” Mot. at 1. Qualcomm uses

                                  12   a 1 to 5 scale “to rate patents’ characteristics such as ‘Invention Value’ and ‘Innovation.’” Id. at 2.
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                                  13   Qualcomm has withheld as privileged documents concerning its patent valuations. Id. at 1. In the

                                  14   instant motion in limine, the FTC defines what relates to the internal valuation of Qualcomm’s

                                  15   patents rather broadly: “evidence on the importance of Qualcomm’s patents.” Id. at 3.

                                  16            Qualcomm has previously sought privilege over documents concerning its internal patent

                                  17   valuations. For instance, Qualcomm successfully clawed back a PowerPoint presentation

                                  18   containing “the number of high-value patents for which each business unit is responsible, and the

                                  19   technologies implicated by each business unit’s patents.” ECF No. 249; see also ECF Nos. 272,

                                  20   456 (orders granting motion to claw back privileged presentation). Furthermore, Qualcomm

                                  21   sought to assert privilege over a “database of certain metrics Qualcomm uses to classify the

                                  22   perceived technical merit and relative values of intellectual property.” ECF No. 673. United States

                                  23   Magistrate Judge Cousins held a hearing on the issue, and granted Qualcomm’s privilege request

                                  24   regarding the database of Qualcomm’s patent ratings. ECF No. 691. The Court affirmed

                                  25   Magistrate Judge Cousins’ ruling. ECF No. 750.

                                  26            Because the FTC’s motion to exclude evidence relating to the importance of Qualcomm’s

                                  27   patents is too broad, the Court denies the FTC’s motion. The FTC’s motion touches upon the

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                                   1   doctrine of implied waiver, which “directs the party holding the privilege to produce the privileged

                                   2   materials if it wishes to go forward with its claims [or defenses] implicating them.” Bittaker v.

                                   3   Woodford, 331 F.3d 715, 720 (9th Cir. 2003). “[A]n implied waiver of the attorney-client privilege

                                   4   occurs when (1) the party asserts the privilege as a result of some affirmative act, such as filing

                                   5   suit; (2) through this affirmative act, the asserting party puts the privileged information at issue;

                                   6   and (3) allowing the privilege would deny the opposing party access to information vital to its

                                   7   defense.” Home Indem. Co. v. Lane Powell Moss & Miller, 43 F.3d 1322, 1326 (9th Cir. 1995).

                                   8   Waiver occurs only when a party “tenders an issue touching directly upon the substance or content

                                   9   of an attorney-client communication.” In re Geothermal Res. Int’l Inc., 93 F.3d 648, 653 (9th Cir.

                                  10   1996).

                                  11            Here, Qualcomm has represented that it will “not offer testimony or other evidence that its

                                  12   patents are fundamental or important because the patent ratings so indicate,” nor will it “offer any
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                                  13   testimony that relies on privileged documents or the legal advice they embody, including its patent

                                  14   ratings.” Opp. at 1-2. Therefore, Qualcomm intends to offer evidence that does not directly touch

                                  15   upon the substance of the attorney-client communication—i.e., the patent ratings. Thus, implied

                                  16   waiver does not act here to force Qualcomm to either divulge its privileged documents or forfeit

                                  17   its opportunity to present evidence relating to the worth of its patents. The Court agrees with

                                  18   Qualcomm’s argument that the FTC’s request would enlarge the scope of the doctrine of implied

                                  19   waiver to a degree that would vitiate the purpose behind attorney-client privilege. Under the

                                  20   FTC’s argument, merely testifying about information that is potentially relevant to the privileged

                                  21   communication would thereby force waiver. The courts which have considered this question do

                                  22   not condone such a drastic consequence. See, e.g., In re Lidoderm Antitrust Litig., 2016 WL

                                  23   4191612, at *4 (N.D. Cal. Aug. 9, 2016) (“[A] simple showing of relevance [of the privileged

                                  24   information] to a case will not suffice. The information . . . must be directly relevant and

                                  25   necessary to allow a party to fully challenge the claims or defenses of the party asserting the

                                  26   privilege . . . .”); Cervantes v. CEMEX, Inc., 2014 WL 4104200, at *9 n.1 (E.D. Cal. Aug. 18,

                                  27   2014) (“If this mere showing [that privileged information would be helpful to a party] was deemed

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                                   1   sufficient, the privilege would be completely eviscerated and clients would no longer be permitted

                                   2   to seek advice of counsel in confidence.”).

                                   3   III.   CONCLUSION
                                   4          For the foregoing reasons, the FTC’s motion in limine #2 is DENIED.

                                   5   IT IS SO ORDERED.

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                                   7   Dated: December 10, 2018

                                   8                                                  ______________________________________
                                                                                      LUCY H. KOH
                                   9                                                  United States District Judge
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